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                    and ARON M. MARDEROSIAN
 7

 8
                             UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10

11   TWELVE SIXTY LLC,                         )    Case No.
     ROBERT J. MARDEROSIAN,                    )
12
     ARON M. MARDEROSIAN,                      )    COMPLAINT FOR COPYRIGHT
13                                             )    INFRINGEMENT AND BREACH OF
                       Plaintiffs,             )    SETTLEMENT AGREEMENT
14
                                               )
15                v.                           )    DEMAND FOR JURY TRIAL
16
                                               )
     METROPOLE TELEVISION aka M6               )
17   GROUP and DOES 1 - 10, inclusive,         )
18                                             )
                       Defendants.             )
19
                                               )
20

21
          Plaintiffs TWELVE SIXTY LLC, ROBERT J. MARDEROSIAN and ARON M.
22
     MARDEROSIAN (collectively “Plaintiffs”) allege as follows:
23
                                     PRELIMINARY STATEMENT
24
          1.     Plaintiffs bring this action seeking to put an immediate stop to, and to obtain
25
     redress for, Defendants’ blatant and purposeful infringement of Plaintiff’s copyright of the
26
     musical master recording entitled “House of the Rising Sun.” (“Master Recording”).
27
          2.     By way of brief background, Plaintiffs ROBERT J. MARDEROSIAN and
28
     ARON M. MARDEROSIAN are two brothers who have worked together for almost 30



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 1
     years to develop their business, Plaintiff TWELVE SIXTY LLC, which provides custom
 2
     recordings and productions of original musical compositions for use in television, motion
 3
     pictures, film trailers, film soundtracks, product commercials and video games. Plaintiffs
 4
     ROBERT J. MARDEROSIAN and ARON M. MARDEROSIAN are musical artists and
 5
     performers, professionally known as “Heavy Young Heathens.” As the Heavy Young
 6
     Heathens, the Plaintiffs have written and recorded music for many premiere entertainment
 7
     clients including major movie studios, networks and advertisers around the world.
 8
          3.     Among many other commercial uses of Plaintiffs’ musical recordings,
 9
     Plaintiffs have had their work featured in television and theatrical motion pictures as The
10
     Simpsons, CSI, Lucifer, Big Sky, The Righteous Gemstones, Shameless, Rules Don’t Apply,
11
     Masterminds, Halloween and Supermensch, as well as prominent trailers for the motion
12
     pictures The Magnificent Seven, Deadpool, The Amazing Spider-Man 2, and The
13
     Expendables.
14
          4.     Plaintiffs’ music has additionally been used in numerous commercials for
15
     Starbucks, Chrysler, Dodge, Ford, Bacardi, Adidas and Red Bull.
16
          5.     Plaintiffs arranged and produced the Master Recording of the musical
17
     composition “House of the Rising Sun”, which is a traditional song. The arrangement and
18
     production is the subject of a copyright registration by Plaintiff ARON M.
19
     MARDEROSIAN and Plaintiff ROBERT J. MARDEROSIAN. See Exhibit A attached
20
     hereto.
21
          6.     Recognizing Plaintiffs’ popularity, talent and goodwill, and in a brazen and
22
     improper effort to capitalize on Plaintiffs’ hard work and copyright ownership of their
23
     master recording of “House of the Rising Sun”, Defendants have created and publicized (or
24
     caused to be created and publicized) commercial advertisements and other media which
25
     prominently features significant portions of Plaintiffs’ musical composition “House of the
26
     Rising Sun” without authorization from Plaintiffs.
27
          7.     In August of 2021, Defendants executed the Settlement Agreement attached
28
     hereto as Exhibit B acknowledging no further infringement on their part of Plaintiffs’



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 1
     “House of the Rising Sun” without a negotiated license and agreed that there would be no
 2
     “future use(s)” of the song without a license. In January of 2022, Defendants breached the
 3
     terms of the settlement agreement, which is the subject of the current litigation, by allowing
 4
     the subject song to be used and broadcast in the television program Chasseurs d’appart’ on
 5
     the Defendants’ network.
 6
           8.     Defendants’ conduct is causing, and unless immediately enjoined will continue
 7
     to cause, enormous and irreparable harm to Plaintiffs. Defendants may not continue to
 8
     exploit Plaintiffs’ musical composition in order to advertise and/or promote their products
 9
     to the public without Plaintiff’s authorization. Defendants’ conduct must immediately be
10
     stopped and/or enjoined and Plaintiffs must be compensated for each of Defendants’ willful
11
     acts of infringement.
12
                                    JURISDICTION AND VENUE
13
           9.     This is a civil action seeking damages and injunctive relief for copyright
14
     infringement under the Copyright Act of the United States, 17 U.S.C. § 101, et seq.
15
           10.    This Court has subject matter jurisdiction over this copyright infringement
16
     action pursuant to 28 U.S.C. §§ 1338 and 1367.
17
           11.    This Court has personal jurisdiction over Defendants because, among other
18
     things, Defendants are doing business in the State of California and in this judicial district,
19
     and the acts of infringement complained of herein occurred in the State of California and in
20
     this judicial district, and Defendants have caused and continue to cause injury to Plaintiffs
21
     and their intellectual property within the State of California and in this judicial district.
22
           12.    In addition, the subject Settlement Agreement (Exhibit B) was executed by
23
     Plaintiffs in August of 2021 in this judicial district.
24
           13.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and (c), and/or
25
     § 1400(a).
26
     ///
27
     ///
28
     ///



                                                    3
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 1
                                            THE PARTIES
 2
           14.    Plaintiff TWELVE SIXTY LLC (“hereinafter referred to as “TWELVE
 3
     SIXTY”) is, and at all times relevant hereto was, a California Limited Liability company
 4
     doing business in the County of Los Angeles County, State of California.
 5
           15.    Plaintiff ARON M. MARDEROSIAN is an individual who resides and works
 6
     in the County of Los Angeles in the State of California.
 7
           16.    Plaintiff ROBERT J. MARDEROSIAN is an individual who resides and works
 8
     in the County of Los Angeles in the State of California.
 9
           17.    Defendant METROPOLE TELEVISION aka M6 GROUP (“METROPOLE”)
10
     is a French mass media company based in France but which does business in the State of
11
     California. On information and belief, Defendant METROPOLE approved the inclusions of
12
     the song in various programs.
13
           18.    The true names and capacities, whether individual, corporate, associate, or
14
     otherwise, of Defendants sued herein as Does 1-10, are unknown to Plaintiffs, who
15
     therefore sue said Defendants by such fictitious names (“Doe Defendant”). Plaintiffs will
16
     seek leave of Court to amend this Complaint to state their true names and capacities when
17
     they have been ascertained. Plaintiffs are informed and believe and on that basis allege that
18
     the Doe Defendants are liable to Plaintiffs as a result of their participation in all or some of
19
     the acts hereinafter set forth.
20
           19.    On information and belief, the Defendants and each of them, were the agents,
21
     partners, employees, affiliates and/or engaged in a joint venture with each of the remaining
22
     Defendants, and were at all times acting within the purpose of said agency and employment,
23
     and each Defendant has ratified and approved the acts of its agents.
24
                                       GENERAL ALLEGATIONS
25         20.    Plaintiffs are the creators and owners of the master sound recording “House of
26
     the Rising Sun.” Plaintiffs own the rights and title to the copyright in the sound recording
27
     “House of the Rising Sun” (the “Infringed Composition”) as creators and owners.
28




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 1            21.    Plaintiffs filed an application for copyright registration with the United States
 2
      Copyright Office for the musical composition “House of the Rising Sun” and the song was
 3
      registered on May 31, 2016, under SR 785-194. A true and correct copy of the registration
 4
      is attached hereto as Exhibit A.
 5
              22.    At all times herein, Defendant METROPOLE is a source of media distribution
 6
      which constitutes control over the infringement which is the subject of this Complaint.
 7
              23.    In or around July 2021, it came to Plaintiffs’ attention that the Defendant
 8
      infringed upon Plaintiffs’ copyright and used the Infringed Composition without Plaintiffs’
 9
      authorization or license to promote the broadcast of the UEFA Euro 2020 Finals.
10

11
              24.    Defendant did not have any license, authorization, permission or consent to use

12    the Infringed Composition.
13            25.    In fact, in July 2021, Plaintiffs’ counsel provided written notice to Defendant’s
14    counsel that the use of the Infringed Composition by Defendants constituted infringement
15    of Plaintiffs’ rights and demanded that Defendant immediately cease and desist from any
16    further use of the Infringed Composition. Plaintiffs are entitled to injunctive relief and
17    redress for Defendant’s willful, intentional and purposeful use and exploitation of the
18    Infringed Composition for its own financial benefit with full knowledge that such use
19
      constituted infringement of, and was in disregard of, Plaintiffs’ rights.
20
              26.   Further, in August of 2021, Defendant executed the Settlement Agreement
21
     attached as Exhibit B acknowledging no further infringement on its part of Plaintiffs’
22
     “House of the Rising Sun” without a negotiated license and agreed that there would be no
23
     “future use(s)” of the song without a license. In January of 2022, Defendant breached the
24
     terms of the Settlement Agreement which is the subject of the current litigation by allowing
25
     the subject song to be used and broadcast in the television program Chasseurs d’appart’ on
26
     the Defendant’s network.
27
     ///
28
     ///



                                                    5
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 1
                                                COUNT 1
 2
                                    COPYRIGHT INFRINGEMENT
 3
                                       (17 U.S.C. §§ 106, 501, 504)
 4
           27.       Plaintiffs incorporate herein by this reference each and every allegation
 5
     contained in paragraphs 1 through 26, inclusive as though fully set forth herein.
 6
           28.       Defendants conspired with one another and/or with their agents, subsidiaries
 7
     and affiliates to wrongfully exploit TWELVE SIXTY’s Master sound recording “House of
 8
     the Rising Sun” without having to fairly or properly compensate TWELVE SIXTY for the
 9
     exploitation.
10
           29.       Defendants authorized, understood, and enabled one another to exploit
11
     TWELVE SIXTY’s Master without paying TWELVE SIXTY any money for this
12
     exploitation.
13
           30.       On information and belief, Defendants have benefitted from the illegal
14
     exploitation of Plaintiffs’ song which was not authorized or permitted.
15
           31.       Defendants have not paid Plaintiffs any money whatsoever for these
16
     exploitations of their song and Plaintiffs have been significantly damaged as a result of this
17
     scheme between Defendants and their co-conspirators.
18
           32.       Through their conduct alleged herein, Defendants have infringed Plaintiffs’
19
     copyright of the Infringed Composition in violation of Sections 106 and 501 of the
20
     Copyright Act, 17 U.S.C. §§ 106 and 501.
21
           33.       As a direct and proximate result of the infringement by Defendants, and each
22
     of them, Plaintiffs are entitled to damages in an amount to be proven at trial.
23
           34.       As a direct and proximate result of the foregoing acts and conduct, Plaintiffs
24
     have sustained and will continue to sustain substantial, immediate, and irreparable injury,
25
     for which there is no adequate remedy at law. Plaintiffs are informed and believe and, on
26
     that basis, allege that unless enjoined and restrained by this Court, Defendants will continue
27
     to infringe Plaintiffs’ rights in the Infringed Composition.        Plaintiffs are entitled to
28




                                                   6
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 1
     preliminary and permanent injunctive relief to restrain and enjoin Defendant’s continuing
 2
     infringement conduct.
 3
            35.   Plaintiffs are also entitled to Defendants’ profits attributable to the
 4
     infringement, pursuant to 17 U.S.C. § 504(b), including an accounting of and a constructive
 5
     trust with respect to such profits.
 6
            36.   Alternatively, Plaintiffs are entitled to maximum statutory damages pursuant to
 7
     17 U.S.C. § 504(c) for each acts of copyright infringement.
 8
            37.   Plaintiffs further are entitled to their attorneys’ fees and costs pursuant to 17
 9
     U.S.C. § 505 and otherwise accordingly to law.
10
            38.   The conduct of Defendants as described herein is willful, wanton, malicious,
11
     fraudulent, and oppressive such that Plaintiffs are entitled to punitive damages.
12
                                              COUNT II
13
                           BREACH OF SETTLEMENT AGREEMENT
14
            39.   Plaintiffs incorporate herein by this reference each and every allegation
15
     contained in paragraphs 1 through 38, inclusive as though fully set forth herein.
16
            40.   In August of 2021, Defendants executed the Settlement Agreement (Exhibit B)
17
     acknowledging no further infringement on their part of Plaintiffs’ “House of the Rising
18
     Sun” without a negotiated license and agreed that there would be no “future use(s)” of the
19
     song without a license. In January of 2022, Defendants breached the terms of the Settlement
20
     Agreement, which is the subject of the current litigation by allowing the subject song to be
21
     used and broadcast in the television program Chasseurs d’appart’ on the Defendants’
22
     network.
23
            41.   As a direct and proximate result of the breach of the Settlement Agreement by
24
     Defendants, and each of them, Plaintiffs are entitled to damages in an amount to be proven
25
     at trial.
26
            42.   The conduct of Defendants as described herein is willful, wanton, malicious,
27
     fraudulent, and oppressive such that Plaintiffs are entitled to punitive damages.
28
     ///



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 1
                                                 PRAYER
 2
            WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of them,
 3
     jointly and severally, as follows:
 4
            1.     For damages in such amount as may be found, or as otherwise permitted by
 5
     law;
 6
            2.     For an accounting of, and the imposition of constructive trust with respect to,
 7
     Defendant’s profits attributable to their infringements of Plaintiffs’ copyright of the
 8
     Infringed Composition;
 9
            3.     For a preliminary and permanent injunction prohibiting Defendants, and their
10
     respective agents, servants, employees, officers, successors, licensees and assigns, and all
11
     persons acting in concert or participation with each or any of them, from continuing to
12
     infringe Plaintiffs’ copyright in the Infringed Composition;
13
            4.     For actual copyright infringement damages and Defendant’s profits or statutory
14
     damages in an amount to be determined at trial;
15
            5.     For interest on the above-requested damages and profits at the maximum legal
16
     rate as provided by law;
17
            6.     For prejudgment interest according to law;
18
            7.     For Plaintiffs’ attorneys’ fees, costs, and disbursements in this action;
19
            8.     For punitive damages; and
20
            9.     For such other and further relief as the Court may deem just and proper.
21
                                     DEMAND FOR JURY TRIAL
22
            Plaintiffs demand a trial by jury.
23   Dated: January 18, 2022                           MARDEROSIAN & COHEN
24

25
                                                            /s/ Michael G. Marderosian
26                                                     By:__________________________________
27
                                                            Michael G. Marderosian,
                                                            Attorneys for Plaintiffs
28




                                                   8
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                       EXHIBIT A
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                        EXHIBIT B
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                                        SETTLEMENT AGREEMENT



  BETWEEN:

  METROPOLE TELEVISION, commonly known as “M6”, a French limited company, whose registered
  office is at 89 avenue Charles de Gaulle, 92200 NEUILLY-SUR-SEINE, registered with the Trade and
  Companies Registry of NANTERRE under number 339 012 452, represented by its CFO, LEFEBURE
  Jérôme, duly authorized for the purpose hereof, acting for itself and the behalf of any and all
  subsidiaries,



  Hereafter designated as “M6 GROUP”,




                                                                                    ON THE ONE HAND,



  AND:

  TWELVE SIXTY LLC, an American company, registered under the laws of the state of California whose
  head office is located at 5950 Bush drive, MALIBU, 90215, United States, represented by its CFO, Robert
  MARDEROSIAN,

  Hereafter designated as “TWELVE SIXTY",



  Aron MARDEROSIAN born on January 10, 1974 residing in California, USA.

  Robert MARDEROSIAN born on November 16, 1979 residing in California, USA.

  Hereafter designated as “the Songwriters”

                                                                                 ON THE OTHER HAND,



  Hereafter designated individually as a “Party” and jointly as the “Parties”.




                                                                                                       1
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  IT HAS FIRST BEEN RECITED AS FOLLOWS:

    (A) M6 GROUP is a French media and entertainment company established in 1987.

    (B) M6 GROUP owns several television channels and broadcasts various television programs and
        shows through its domestic network, including the national television channel “M6”.

    (C) TWELVE SIXTY is an American company owned and controlled by the Aron and Robert
        MARDEROSIAN, professional songwriters under the name “Heavy Young Heathers”.

    (D) TWELVE SIXTY provides the musical compositions and productions of the Songwriters for use in
        television show, movies and video games.

    (E) TWELVE SIXTY, ARON MARDEROSIAN and ROBERT MARDEROSIAN arranged and produced a
        master recording of the musical composition “House of the Rising Sun”, which is a traditional
        song (hereinafter “the Master”).

    (F) In July, 2021 M6 GROUP used an extract of the Master to promote the TV broadcast of the EUFA
        EURO 2021 final on its television channels and social network.

    (G) Believing that they had been victims of infringement because of the use of the Master, TWELVE
        SIXTY and the Songwriters contacted M6 GROUP on July 10th, 2021.

    (H) TWELVE SIXTY and the Songwriters alleged a copyright infringement under the Copyright Act of
        the United States, 17 U.S.C. § 101, due to the above-mentioned use of the Master related to
        the EUFA EURO final, and other past uses (hereinafter “the Uses”), and threatened M6 GROUP
        to bring a case to Court in the United States. A draft writ of summons was communicated to
        M6 GROUP.

    (I) On the other hand, M6 GROUP considers that theses Uses are authorized under Article L.214-
        1 of the French intellectual property code provided it pays a collecting society which is actually
        the case.

    (J) M6, TWELVE SIXTY and the Songwriters have, however, reached an amicable agreement to put
        an end to this dispute, and settle definitively all accounts between them on this matter, by
        means of the reciprocal concessions expressed in this agreement.




                                                                                                        2
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  THEREFORE, THE PARTIES AGREE HERETO AS FOLLOWS:

  Article 1 - Subject matter

  The purpose of this settlement agreement (hereafter the "Settlement Agreement") is to definitively
  put an end to the disputes between the Parties in consideration for the mutual and reciprocal
  concessions contained herein.

  By signing this Settlement Agreement, none of the Parties do recognize or admit any tort or unlawful
  activity, and more generally the other Parties position or argumentation, but merely settle in order to
  avoid a lawsuit.

  Article 2 – Commitments of M6

  In counterpart of the waiver by TWELVE SIXTY and the Songwriters set out in Article 3, M6 GROUP
  undertakes:

          (1) To pay TWELVE SIXTY the global lump sum of 50.000 EUROS (fifty thousand euros) at the
              latest on August 15, 2021.

              The funds will be wired into the following bank account:

              Account Name: Twelve Sixty, LLC
              Business Address: 5950 Busch Drive, Malibu CA 90265
              Business Phone: 310-457-0133
              Bank: Wells Fargo
              Bank Address: 23361 Pacific Coast Hwy, Malibu CA 90265
              Bank Phone: 310-317-1740
              Bank Account No.: 5738198042
              Wire Routing No.: 121000248

          (2) To remove, as of the date of full execution of this Settlement Agreement, and blacklist
              from any future use(s) without a lawful license and authorization from Twelve Sixty, and
              Aron and Robert Marderosian, the Master and from its sound recording catalogue.

          (3) To provide TWELWE SIXTY and the Songwriters with the physical cue sheets to identify the
              use by M6 of the Master for promoting the EUFA EURO 2021 final at the latest on August
              30, 2021 and to provide those cue sheets directly to Twelve Sixty and the Songwriters upon
              the full execution of the Settlement Agreement.




                                                                                                       3
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  Article 3 - Waiver of TWELVE SIXTY and the Songwriters

  In consideration of M6 GROUP’ commitments as set out in Article 2 above, TWELVE SIXTY and the
  Songwriters undertake to cease any allegation, demand or claim and to refrain from taking any action
  or claim of any kind, in particular based on copyrights, master rights, torts, passing off, relating to the
  dispute set out in the preamble concerning the Uses of the Master, against M6 and/or any subsidiary,
  in the United States or anywhere else in the world.

  TWELVE SITXTY and the Songwriters declare and warrant that they are fully entitled to enter into this
  settlement which definitively clears the Uses from any claims related to the Uses of the Master. Should
  any third party bring a new claim related to the Master, M6 GROUP shall be allowed to ask for TWELVE
  SITXTY and the Songwriters warranty.

  Article 4 – Confidentiality

  The Parties will keep the existence of this Settlement Agreement and its terms and conditions as well
  as the dispute recited in the preamble strictly confidential.

  In particular, the Parties shall refrain from communicating to any third party the Settlement Agreement
  or disclosing information relating to it and / or concerning the claims of the Parties as set forth in the
  preamble above, to a third party whether it is a natural person or a legal person and, in any way, to
  make this information public.

  Any breach of this confidentiality undertaking would expose its author to a claim for damages, which
  would be estimated by the competent court, in accordance with the rules of civil law.

  By derogation from the above, each Party is entitled to disclose the Settlement Agreement to: (i) any
  competent Administration or Court, (ii) any jurisdiction having jurisdiction over any breach of the
  Settlement Agreement and (iii) their respective counsel.

  Article 5 - Costs and fees

  Each Party shall bear the costs and expenses it has incurred in connection with the dispute referred to
  in the preamble and in the framework of the establishment and execution of the Settlement
  Agreement, such legal costs to include but not to be limited to lawyers’ fees.

  Article 6– Settlement

  This Settlement Agreement constitutes the entire agreement between the Parties and expresses the
  full obligations of the Parties on the date of its signature. Each Party declares that it has no other claim
  to raise in the dispute settlement and litigation framework set out in the preamble.

  The Settlement Agreement is effective on the date of its signature by all Parties.




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  Article 7: Electronic signatures

  The Parties agree that the Settlement Agreement may be electronically signed through the Yousign's
  electronic signature solution (https://yousign.com/), and that any electronic signatures appearing on
  this Settlement Agreement are the same as handwritten signatures for the purposes of validity,
  enforceability, and admissibility.



  Made in four (4) identical original signed and initialed copies, on July 29th, 2021.




    TWELVE SIXTY LLC                                              METROPOLE TELEVISION
    Mr. MARDEROSIAN Robert                                        Mr. LEFEBURE Jérôme




    Mr. MARDEROSIAN Aron




    Mr. MARDEROSIAN Robert




                                                                                                     5
